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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL BY THE OIL RIG. * MDL NO. 2179
“DEEPWATER HORIZON” IN THE
GULF OF MEXICO, ON APRIL 20, 2010 * SECTION J
THIS DOCUMENT RELATES TO:  * JUDGE CARL J. BARBIER
ALL CASES IN PLEADING BUNDLE * MAG JUDGE SALLY SHUSHAN
SECTION HEB(3)
* * * * * * * *
ORDER

IT IS HEREBY ORDERED that Darrell K. Cherry and Mare J. Yellin of Deutsch,
Kerrigan & Stiles, L.L.P. be WITHDRAWN as counsel of record for International Air
Response, Inc., and the following attorneys are hereby substituted and enrolled as counsel of

record for International Air Response, Inc., going forward herein:

Kevin R. Tully (LA Bar No. 1627) (T.A.}
H. Carter Marshall (La. Bar No. 28136)
Gregory 8S. LaCour (La. Bar No. 23823)

Christovich & Kearney, LLP
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601 Poydras Street
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New Orleans, Louisiana, this day of , 2011.

HON. CARL J. BARBIER
DISTRICT JUDGE
